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                                   16091




                      Exhibit 19
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 2 of 18 PageID #:
                                   16092
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 3 of 18 PageID #:
                                   16093
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 4 of 18 PageID #:
                                   16094
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 5 of 18 PageID #:
                                   16095
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                                   16096
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 7 of 18 PageID #:
                                   16097
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 8 of 18 PageID #:
                                   16098
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                                           16099


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65 Tzfat St., Petah-Tikva, Israel
+972 54 8349.337
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                                    CERTIFICATION

        I, Yaniv Berman, do hereby certify that as a qualified translator I am fully

conversant with the English and Hebrew languages, and that to the best of my

knowledge, the attached document, L_C180954-60, is a true and accurate

translation of the original text from the Hebrew language into English.


Date: August 20, 2014



                                      ___________________________
                                               Yaniv Berman
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                                    16100


      Case No. 3511/03                                                    Date: 18 Tamuz 5765
                                                                          26 July 2005
                                                    Verdict

      Based on his admission of guilt, I hereby convict the Defendant of the offenses, which are
      attributed to him in the revised indictment, namely:

          A. Membership and activity within an unlawful association, in accordance with
             Regulation 85(1)(A) of the Defense [Emergency] Regulations.
          B. Attempt to intentionally cause death, in accordance with Clause 51(A) in the Order
             on Security Instructions, and Clauses 19 and 20 in the Order on Rules of
             Responsibility for an Offense.
          C. Intentionally causing death, in accordance with Clause 51(A) in the Order on Security
             Instructions (2 charges).

          Issued and announced today, 26 July 2005, in public, with both parties attending.

          [signature]                 [signature]                         [signature]
          _____________               ________________                    _______________
          Judge                       Presiding Judge                     Judge

          Defense counsel: I request to postpone the date for the arguments for sentencing in this
          case to the beginning of September.

                                                     Decision

          The date for the arguments for sentencing in this case is postponed to 6 September
          2005.

          Issued and announced today, 26 July 2005, in public, with both parties attending.

          [signature]                 [signature]                         [signature]
          _____________               ________________                    _______________
          Judge                       Presiding Judge                     Judge



             Military         [illegible handwriting]                            [signature]
             Court of                                                            4584482
             Appeals in                                         City
                                                                Officer          Major Elinor Barazani
             Judea and          Original Copy
                                                                Natania          City Officer Natania
             Samaria                                            9338 *




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                                    16101




                                                      APOSTILLE
                                                                                              Ministry of
                                      (CONVENTION DE LA HAYE 5 DU OCTOBER 1961)               Foreign Affairs



         [English column]                                                    [Hebrew column]
        1. STATE OF ISRAEL                                                   1. STATE OF ISRAEL

        2. THIS PUBLIC                                                       2. THIS PUBLIC
        DOCUMENT HAS BEEN                 BARAZANI ELINOR [Hebrew]           DOCUMENT HAS BEEN
        SIGNED BY MR/MS                   BARAZANI ELINOR [English]          SIGNED BY MR/MS

        3. ACTING IN THE CAPACITY                                            3. ACTING IN THE CAPACITY
         OF NATANIA CITY                                                     OF NATANIA CITY
         OFFICER FOR                                                         OFFICER [FOR
         MILITARY MATTERS                                                    MILITARY MATTERS]

        4. BEARS THE                                                       4. BEARS THE
         SEAL/STAMP OF THE                Israel Defense Forces [Hebrew] SEAL/STAMP OF THE
         MINISTRY OF                      ISRAELI DEFFENCE [English. Sic.] MINISTRY OF

        5. CERTIFIED AT THE                                                  5. CERTIFIED AT THE
         MINISTRY OF FOREIGN                                                 MINISTRY OF FOREIGN
         AFFAIRS                                                             AFFAIRS

        6. THE                                                               6. On
                                          22 September 2011
        7. BY                                                                7. BY
                                          LIDAR [English]   LIDAR [Hebrew]
                                          RAHIMA            RAHIMA
        8. NO 526757.                                                        8. NO 526757.
                                          CONSULAR         CONSULAR
        9. SEAL/STAMP                     BUREAU [English] BUREAU [Hebrew] 9. SEAL/STAMP


        10. SIGNTAURE, JERUSALEM                   Ministry of               10. SIGNTAURE, JERUSALEM
         [Handwritten signature:] Lidar            Foreign Affairs           [Handwritten signature:] Lidar




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                                    16102


      Case No. 3511/03                                                  Date: 18 Shvat 5766
                                                                        16 February 2006

                                     The Judea Military Court
      Before the honorable Presiding Judge: Major Yair Tirosh
                                            Judge: Major Dalia Kaufmann
                                            Judge: Major Michael Ben-David

      The Military Prosecution
      (Represented by Captain Sergei Morin)                 City        4584482, Major Elinor
                                                            Officer
                                                            Natania     Barazani, Netanya City
                                                            9338 *      Officer

                                                    Vs.

      The Defendant: Abdallah Ahmad Mahmud Abu Saif, I.D. 937286730 / IPS
      (Represented by his attorneys, the lawyers Anwar Abu Omar and Ahlam Hadad)


                                         Reasons for the Verdict

      The Defendant has been convicted, based on his confession, of crimes whose essence is
      membership and activity in an unlawful association, an attempt to intentionally cause death,
      and intentionally causing death.

      The Defendant, who was a member in the military wing of Hamas organization, the "Izz al-
      Din al-Qassam Brigades", has played a central role in the execution of a murderous terrorist
      attack that took place on March 7 in the settlement Kiryat Arba. In this terrorist attack, the
      couple Dina and Eli Horovitz of blessed memory were murdered by the Defendant and his
      accomplices, and three other people were injured.

      The Defendant's part in the said event already began in January 2003, when he was asked by
      his recruiter, Basel Qawasmeh, to locate a point from which the Kiryat Arba settlement
      could be penetrated in order to carry out a terrorist attack. The Defendant agreed and
      located a place as required. Later on, the Defendant was asked by his recruiter to film the
      place, but he did not do it since he failed to operate the video camera. The Defendant told
      Basel Qawasmeh about a place close to the settlement's fence, where the weapons to be
      used for the terrorist attack could be hidden.

      In the beginning of March 2003, three days before the execution of the planned terrorist
      attack, the Defendant received from his recruiter a bag, and in it was an M-16 assault rifle,
      ammunition and an explosive belt. He hid it in the hiding place near the settlement's fence.
      These weapons were supposed to be used by the terrorists, who intended to carry out the
      terrorist attack three days later.

      On the day of the terrorist attack, 7 March 2003, the Defendant was called to a meeting
      place in a soccer field, where he met his recruiter, the aforementioned Basel, and two other
      people. Basel notified the Defendant that these two people are supposed to execute the



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      planned terrorist attack in Kiryat Arba and ordered the Defendant to lead them to the
      settlement's fence. The Defendant took the two men to the settlement Kiryat Arba, first to
      the hiding place of the rifle and the explosive belt, where the two took the weapons and
      disguised themselves. After the two finished preparing for the terrorist attack, the
      Defendant showed them the place where, according to his plan, they were supposed to cut
      through the fence. The Defendant left the place and the two terrorists cut the fence,
      entered the settlement and began shooting at by-passers. Afterwards, the terrorists entered    Military Court
                                                                                                     of Appeals in
      the house of the Horovitz family, continued shooting and the explosive belt that one of them    Judea and
      was wearing exploded.                                                                             Samaria
                                                                                                         Region

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                                                                                  L_C180956 [continued]
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                                    16104


      Case No. 3511/03                                                 Date: 18 Shvat 5766
                                                                       16 February 2006


      As stated, as a result of these deeds, the couple Dina of blessed memory and Rabbi Eli
      Horovitz of blessed memory were murdered, and three other people were injured.

      In addition, less than a month after this event, the Defendant took part in another terrorist
      attack, carried out in the same manner, but fortunately the terrorist was shot and killed by
      the town's security guard, who thus prevented a deadly outcome. The Defendant's role in
      the second terrorist attack was similar to his role in the murder act.

      The military prosecutor, who reviewed the Defendant's deeds, has requested to sentence
      him to two life imprisonments and to an additional sentence on account of the other crimes
      for which he was convicted.

      The learned defense counsel claimed that the Defendant's role in the event should also be
      examined, and not only the clause of the conviction. The defense counsel pointed out that
      the Defendant was not among those who initiated the terrorist attacks. Rather, he received
      instructions from his recruiter, Basel Qawasmeh. The defense counsel claimed that the
      Defendant's part is not the same as the part of a primary executor, and therefore he does
      not deserve the same sentence as that of a primary executor. The defense counsel referred
      the court to several verdicts issued in cases of people, who were accomplices in intentionally
      causing death, and who were not sentenced to life imprisonment.

      Indeed, as the defense counsel stated, the Defendant was not the initiator or the planner of
      the terrorist attack. However, the Defendant did play a central role in the execution of the
      terrorist attack from the initial stage of planning and locating a point of penetration to the
      settlement, on through hiding the weapons, all the way to stage of leading the terrorists to
      the location of the terrorist attack. As part of the preparations, the Defendant also hid the
      weapons for the terrorists near Kiryat Arba. The Defendant's part is, as was said before,
      pivotal, and therefore, he deserves a sentence equal to that of a primary executor.

      We would like to note that the verdicts presented by the defense do not refer to cases of
      circumstances similar to the occurrence at hand. Furthermore, even if we would have relied
      on said verdict, most verdicts that were mentioned are first instance verdicts, which,
      according to binding case law, cannot constitute a precedent unless accomplices in the same
      factual affair are concerned (appeal to the Judea and Samaria Military Court, 56/02, the
      Military Prosecutor against Abu Alya).

      As for the sentence of the Military Court of Appeals, Appeal in the Judea and Samaria Region
      2397/04 + 1777 + 1776 Shehada and Sa'adi vs. The Military Prosecutor, which was
      mentioned during the Arguments for Sentencing session – it cannot serve as the starting
      point for the appropriate sentence in the case at hand. In that case, the matter of two
      female Defendants was discussed. The two were convicted, in the framework of a plea
      bargain, of being accomplices to an offense of intentionally causing death. The Military Court
      of Appeals explicitly indicated that had the Military Prosecution not revised the indictment –
      attributing to the Defendants only the charge of being accomplices – they would have
                                                                                                 L_C180957
Case 1:05-cv-04622-DLI-RML Document 363-19 Filed 02/24/17 Page 15 of 18 PageID #:
                                    16105


      deserved consecutive life sentences for their deeds. In light of the said statements, it is
      obvious that one cannot evenly compare this [previous] case, and the case at hand, in which
      the Defendant was convicted of two offenses of intentionally causing death. All the more so,
      the Military Court of Appeals ruled that the Defendants in that case should have been
      sentenced to life sentences.

      At the end of day, the Defendant chose to murder two people, injure three other people, and
      attempt to murder as many people as possible. These deeds necessitate harsh and deterring
                                                                                                      Military

      punishment, which properly expresses the interests of reward and deterrence, which are at       Court of
                                                                                                      Appeals in
                                                                                                      Judea and
      the core of criminal punishment. Under the circumstances of this case, we feel that there is    Samaria


      no room for reducing the sentence of the Defendant, who took the path of murder and
      violence by consciousness and choice, and whose deeds caused the death of a pair of
      innocent people and the injury of others.




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                                                                              4584482
                                                              City
                                                              Officer         Major Elinor Barazani
                                                              Natania         City Officer Natania
                                                              9338 *




                                                                              L_C180957 [continued]
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                                    16106


      Case No. 3511/03                                                     Date: 18 Shvat 5766
                                                                           16 February 2006


      We emphasize that the Defendant has never expressed remorse for his deeds, and it seems
      that he is not at all sorry for his deeds, nor does he understand their consequences on the
      relatives of those who were murdered, on the injured, and on the relatives of those who
      were injured as a result of his despicable deeds.

      Therefore, the only sentence appropriate under the circumstances of the case, is the
      sentence that was issued to the Defendant on 20 September 2005:

          A. Two actual life sentences, to be served consecutively, for causing the death of Rabbi
             Eli Horovitz of blessed memory and his wife Dina Horovitz of blessed memory.
          B. Twenty five years, to be served consecutively, for the rest of the offenses with which
             he was convicted.

      A right to appeal – within 30 days after the issuance of the reasons for the sentence.

      Issued and announced today, 16 February 2006, in the office.

      A copy of the reasons will be delivered to the parties by the secretary's office.

          [signature]                 [signature]                          [signature]
          _____________               ________________                     _______________
          Judge                       Presiding Judge                      Judge



             Military         [illegible handwriting]                             [signature]
             Court of                                                             4584482
             Appeals in                                          City Officer
                                                                                  Major Elinor Barazani
             Judea and           Original Copy                   Natania
                                                                 93[illegible]    City Officer Natania
             Samaria



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                                    16107


      Case No. 3511/03                                                    Date: 18 Shvat 5766
                                                                          16 February 2006
                                  The Judea Military Court
      Before the honorable Presiding Judge: Major Yair Tirosh
                          Judge: Major Dalia Kaufmann
                          Judge: Major Michael Ben-David

      The Military Prosecution
      (Represented by Captain Sergei Morin)

                                                   Vs.

      The Defendant: Abdallah Ahmad Mahmud Abu Saif, I.D. 937286730 / IPS
      (Represented by his attorneys, the lawyers Anwar Abu Omar and Ahlam Hadad)


                                   Decision – Amending a Scribal Error

      In the verdict that was issued on 26 July 2005, two scribal errors was made, which are
      hereby amended:

          A. In line 3 of the verdict, instead of the words "I convict", we place the words: "We
             convict".
          B. Add to the end of line 8 of the verdict the words: (two charges).

      Issued and announced today, 16 February 2006, in the office.

      A copy of the decision will be delivered to the parties by the secretary's office.

          [signature]                  [signature]                        [signature]
          _____________                ________________                   _______________
          Judge                        Presiding Judge                    Judge



             Military         [illegible handwriting]                            [signature]
             Court of                                                            4584482
             Appeals in                                         City Officer
                                                                                 Major Elinor Barazani
             Judea and           Original Copy                  Natania
                                                                9338 *           City Officer Natania
             Samaria




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                                                                                       L_C180959
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                                    16108


      Case No. 3511/03                                                  Date: 16 Elul 5765
                                                                        20 September 2005
                                 The Judea Military Court
      Before the honorable Presiding Judge: Major Yair Tirosh
                          Judge: Major Dalia Kaufmann
                          Judge: Major Michael Ben-David

      The Military Prosecution
      (Represented by Lieutenant Rani Amar)

                                                  Vs.

      The Defendant: Abdallah Ahmad Mahmud Abu Saif, I.D. 937286730 / IPS - Present
      (Represented by his attorneys, lawyers Anwar Abu Omar and Ahlam Hadad- Present)
                                                Sentence

      Having heard all the arguments of both sides, and having examined the verdict of the
      Military Court of Appeals, addressing the Defendant's role in the execution of the offenses
      that had to do with intentionally causing the death of Rabbi Eli Horovitz of blessed memory
      and his wife Dina Horovitz of blessed memory, we have decided to sentence the Defendant
      to the following:

         A. Two actual life sentences, to be served consecutively, for causing the death of Rabbi
            Eli Horovitz of blessed memory and his wife Dina Horovitz of blessed memory.
         B. Twenty five years, to be served consecutively, for the rest of the offenses with which
            he was convicted.

         The reasons for the sentence will be given in due course.

         A right to appeal – within 30 days after the issuance of the reasons for the sentence.

         Issued and announced today, 20 September 2005, in public, with both parties
         attending.

         [signature]                 [signature]                        [signature]
         _____________               ________________                   _______________
         Judge                       Presiding Judge                    Judge



             Military        [illegible handwriting]                           [signature]
             Court of                                                          4584482
             Appeals in                                       City Officer
                                                                               Major Elinor Barazani
             Judea and          Original Copy                 Natania
                                                              93[illegible]    City Officer Natania
             Samaria




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